Case 2:04-cr-20511-.]DB Document 24 Filed 07/22/05 Page 1 of 2 Page|D 40

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Plaintiff

VS.
CR. NO. 04-20511-D

YVONNE N. W|LSON

Defendant.

 

oRDER oN coNTiNuANcE AND sPEchYlNG PERloD oF ExcLuDABl_E DELA\/
AND SETT|NG

 

This is scheduled for a report date on Ju|y 21, 2005. Counse| for the defendant
filed a motion seeking a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the motion and reset the trial date to September 6, 2005 with a
report date of Thursda§¢l August 25l 2005, at 9:00 a.m., in Courtroom 3l 9th F|oor of the
Federa| Bui|ding, Memphis, TN.

The period from August12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends ofjustice served in allowing for additional
time to prepare outweigh the need for a speedy tria|.

lT is so oRDERED thisp£$ day of Juiy, 2005.

§RN|CE B. §§NALD

UN|TED STATES D|STRlCT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 24 in
case 2:04-CR-20511 Was distributed by faX, mail, or direct printing on
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Honorable Bernice Donald
US DISTRICT COURT

